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                            81,7('67$7(6',675,&7&2857
                             1257+(51',675,&72)2+,2
                                  ($67(51',9,6,21


,15(1$7,21$/35(6&5,37,21                         &$6(120'
23,$7(/,7,*$7,21
                                                     -8'*(32/67(5
7+,6'2&80(175(/$7(672
“All Cases”
                                                     25'(55(*$5',1*
                                                     3/$,17,)))$&76+((76
                                                     $1'6(59,&(2)352&(66

       2Q2FWREHUWKH&RXUWHQWHUHGDQ2UGHUGLUHFWLQJ³DOOJRYHUQPHQWDOSODLQWLIIVWR

UHVHUYHWKHLU3)6>3ODLQWLII)DFW6KHHW@QRODWHUWKDQ)ULGD\2FWREHU´E\HPDLOLQJWKHLU

3)6WR0'/3ODLQWLIIV¶/LDLVRQ&RXQVHO2UGHUDW GRFNHWQR 7KHVHUHVHUYHG3)6VDUH

QRZFROOHFWHGLQD³3)65HSRVLWRU\´Id.7KH&RXUW¶VUHYLHZRIWKH3)65HSRVLWRU\VKRZVLW

FXUUHQWO\KROGVDERXW3)6V

       7KH &RXUWDOVRUHFHQWO\HQWHUHG2UGHUV DGGUHVVLQJFHUWDLQ³1RQ/LWLJDWLQJ'HIHQGDQWV´

³1/'V´ SeeGRFNHWQRV'XULQJFRQIHUHQFHFDOOVVRPH1/'VKDYHDVVHUWHGWKDW

QXPHURXVSODLQWLIIVKDYHQRWVHUYHGWKHPZLWKSURFHVVDQGRUKDYHQRWSURGXFHGD3)6DVUHTXLUHG

7KH&RXUWFRQFOXGHVLWPD\EHDSSURSULDWHWRGLVPLVV0'/FDVHVEDVHGRQDVXEGLYLVLRQSODLQWLII¶V

IDLOXUHWRVHUYHD3)6WRWKH3)65HSRVLWRU\DQGRUGLVPLVVFODLPVEURXJKWDJDLQVWD1/'EDVHG



       
        7KH&RXUW¶VRULJLQDOFact Sheet Implementation Order UHTXLULQJHDFK3ODLQWLIIWRSURYLGH
D3)6LVDWGRFNHWQRSee alsoGRFNHWQRDW UHDIILUPLQJWKH3)6UHTXLUHPHQWIRU
1RQ3DUWLFLSDWLQJ6XEGLYLVLRQV 
       
        $VXVHGLQWKLV2UGHU³1RQ/LWLJDWLQJ'HIHQGDQW´UHIHUVWRDQ\GHIHQGDQWIDPLO\OLVWHG
LQGRFNHWQRRUGRFNHWQR
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RQDVXEGLYLVLRQSODLQWLII¶VIDLOXUHWRREWDLQWLPHO\VHUYLFHRISURFHVVRQWKH1/'DEVHQWJRRG

FDXVH          $FFRUGLQJO\WRPDNHWKLVLVVXHULSHWKH&RXUW25'(56DVIROORZV(DFK1/'WKDW

ZLVKHVWRGRVRPD\ILOHRQWKH0'/GRFNHWRQRUEHIRUH-DQXDU\DOLVWVKRZLQJDOO

SODLQWLIIVXEGLYLVLRQVWKDWQDPHGWKH1/'LQDQ0'/FDVHEXWWKHSODLQWLII  GLGQRWVHUYHD3)6

WRWKH3)65HSRVLWRU\DQGRU  GLGQRWREWDLQWLPHO\VHUYLFHRISURFHVV7KHVHOLVWVVKRXOGEHLQ

WKHIRUPDWVKRZQLQWKHH[HPSODUDWWKHHQGRIWKLV2UGHU,QDGGLWLRQWRILOLQJWKHOLVWRQWKH0'/

GRFNHW HDFK 1/' VKDOO DOVR HPDLO LWV OLVW LQ ([FHO IRUPDW WR 3ODLQWLII¶V /LDLVRQ &RXQVHO IRU

GLVWULEXWLRQWRSODLQWLIIV DQGWR6SHFLDO0DVWHU&RKHQ

           7KH&RXUWIXUWKHU25'(56DOOSODLQWLIIVXEGLYLVLRQVOLVWHGLQDQ\RIWKH1/'V¶OLVWVWRILOH

RQRUEHIRUH)HEUXDU\DQRPQLEXVGRFXPHQWVKRZLQJJRRGFDXVHZK\WKHOLVWHGFDVHVRU

FODLPVVKRXOGQRWEHGLVPLVVHGZLWKRXWSUHMXGLFH(DFK1/'PD\ILOHDQRPQLEXVUHVSRQVHRQRU

EHIRUH0DUFK

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                                                          81,7('67$7(6',675,&7-8'*(

'DWHGJanuary3



                                             [see next page]




                                                     
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Exemplar List Format:


'HIHQGDQW1DPH$%&3KDUPDFHXWLFDOV
  6XEGLYLVLRQ1DPH       0'/&DVH1R         1R3)6LQ        1R6HUYLFHRI
                                              5HSRVLWRU\         3URFHVV
       %ODFNYLOOH$=       23                    ;                   ;
   :KLWH&RXQW\&$         23                    ;
  &LW\RI5HGYLOOH0,      23                                        ;
        *UHHQYLOOH5,      23                    ;                   ;




                                          
